
THE COURT.
This is an appeal by the plaintiff from an order granting defendant’s motion to discharge an attachment. The facts leading up to the issuance of the attachment are stated in the opinion this day filed in the same action on the defendant’s appeal from a prior order denying her motion to discharge the same attachment. (Aronson &amp; Co. v. Pearson, ante, p. 286 [249 Pac. 188].) At a time subsequent to the denial of such motion, the defendant again moved the court to discharge the attachment, basing her motion upon the grounds stated in her first motion, and the court thereupon made the order from which this appeal is taken. Upon the grounds stated in the said opinion, the order appealed from herein is reversed.
Rehearing denied.
